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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  BIOGEN INTERNATIONAL GMBH and
  BIOGEN MA, INC.,

                   Plaintiffs,

  v.                                          CIVIL ACTION NO. 1:17CV116
                                                     (Judge Keeley)

  MYLAN PHARMACEUTICALS INC.,

                   Defendant.

                     ORDER GRANTING DEFENDANT’S MOTION
                  FOR LEAVE TO FILE REPLY [DKT. NO. 328]

         On January 21, 2020, the defendant, Mylan Pharmaceuticals Inc.

  (“Mylan”), moved for leave to file a reply brief and exhibit

  supporting its motion in limine to exclude undisclosed theory to

  rebut invalidity (Dkt. No. 328). Finding good cause, the Court

  GRANTS the motion (Dkt. No. 328) and DIRECTS the Clerk to file

  Mylan’s reply brief and supporting exhibit (Dkt. Nos. 328-1, 328-2)

  under seal pursuant to the Stipulated Protective Order (Dkt. No.

  70).

         It is so ORDERED.

         The Court DIRECTS the Clerk to transmit copies of this Order

  to counsel of record.

  DATED: January 22, 2020

                                           /s/ Irene M. Keeley
                                           IRENE M. KEELEY
                                           UNITED STATES DISTRICT JUDGE
